Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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Case 19-01660-DSC7   Doc 1-2 Filed 04/19/19 Entered 04/19/19 14:29:03   Desc
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